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       FOLLOW INSTRUCTIONS frent and back CAREFULLY
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        55 WALL STREET,SUITE 708                                                   NEW YORK                               NY        1000,5                    USA
        1d. ~iNSTRtiGTION3              ADD'L INFOR te.NPE OF ORGANIZATION         1t. JUPoSDICTIONOFORG ANIZhTfON
                                        ~GANZATION
          Not APPficable                oEerort           CORPORATION              NEW YORK
        2. ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME •insert only one debmr name f?a or w1 • m not nWxevwb w eanbine names
            2a. ORGAN¢A710MS NAME


        ~ 2b. WpVIDUAL'S UST NAME                                                  FIRST NAME                         -   MDDLE NAME                          SUFF


        2e. MAILNG DDRESS                                                          CITY                                   STATE     POSTAL CODE               CWNiRY


        2d.                             ADD'L INFO RE     2e.TYPE OF diOANIUTION   2f.JURISDICTIONOF ORGAWZATION          2p. ORGANIZATIONAL ID i/: if any
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              RVH INC.
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        3e. MAILING ADDRESS                                                        CITY                                   STATE     P0.STALCODE               COUNTRY

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        SEE ATTACHED EXHIBIT B




        5. Al




        FILWO OFFICE COPY — UCC FINANCING STATEMENT (FORM UCC7)(REV. D5/22/02)




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                                                         Exhibit B
                                            D~F[N]"IIUN OF PLI~;UGED PRC)PI;I;TY

                      For tl~e purpose of securing prompi and complete payment. and perT~rmance by the
                 Company of all of'the Obligations, the Company unconditionally and irrevocably hereby grants
                  to the Secured Pacrty a continuing lirst priority security interest in ani~ to, and lien upt~n, all the
                  assets of the Company. which is new owned or hereafter acquir~.d, including without limitation,
                  the following:
                                 (a)     alI casFy. negotiable instrwnents, escrow funds. bank accoun~s, contract
                  rights, preraid expenses and claims:.
                                (h)     all goods of the Company, including, without ]imitation, machinery,
                  equipment, computer, furniture, Furnishings, Cxtures, signs, li.gh`s, tool~, parts, supplies ac;d
                  motor oehicles of every kind and description, now or hereafter owned by the Company or in
                  «~hich the Company may have or may hereafter acquire any interest, and al. replacements,
                  additions, accessions, substitutions and proceeds th~r.;of, arising; from the sale or disrosition
                  thereof: and where applicable, the proceeds of insurance and of qtly tort claims involving any of
                  the foregoing;
                                 (c)     all inve~itory of the Companti~, including, but not litnitecl to, x;11 goods,
                  wares, merchandise, parts, supplies. finished products, other tangible personal property,
                  including such inventory as is temporarily out of Company's custody or possession and
                  including any returns upon any accounts or other proceeds, incl~~ding insurance proceeds,
                  resulting from the sale or dispositicla of any of the foregoing;
                                 (d)      all contract rights and general int~n~ibles of the Company. goodwill,
                  I~asehold interests, partnership or joint venture interests, deposit accounts ~-Nether no~v owned or
                  hereafter created:
                               (e)     all documents, warehouse receipts, instruments and chattel p<~pet~ of tl~e
                  Compan}~ ~~hether now owned or hereafter created, including without limitation all tiles, records,
                  books oPaccount, business papers and computer programs;
                                 (f)      all accounts and other receivables, instruments or other 1:orm5 cif
                  obligations and rights to payment of the Company (herein collectively referred to :,s
                  `'Accounts"), together with the proceeds thereof, all goods represented by such !accounts and all
                  such goods that may he retuned by the Company's customers, aild all proceeds of anv Insurance
                   thereon, and all guarantees, securities and liens which the Company may hold for the pa~~ment cif
                  any such Accounts including, without limitation, all rights of sto~;pa~e in transit, replevin and
                  reclamation and as an unpaid vendor and/or lienor, all of which the Company represents and
                  warrants will be bona fide and existing obligations of its respective customers, ~crising c>ut of the
                  sale ol~goods by the Company in the ordinary course of~business;
                                (g)      to the extent assignable, all of tine Company's ribhts under all present and
                  future authorizations, permits, licenses and franchises issued or ~~r,~nted in connectior with the
                  operations of any of its facilities;
                                 {h)     (i) invention registrations. (ii) patents (includin~~ but nit limited to design
                  patents), patent registrations and patent applications (including all reissues, divisions,
                  continuations, continuations-in-part, extensions and ree:ca~ninationsj and all improvements to the


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                  inventions disclosed in each such registration, patent of application, (iii) tzadeniarks, trademark
                  rights. business identifiers. service marks, tr~►de dress, logos, trade names, brand names and
                  corporate names (and any deviations thereot7, whether or not registered, in.cludin~ but not
                  limited to atl common la~i• rights, and registrations and a~~plicat.iur~ 1'or registration theree~f,
                  including. but not limited to, all marks registered in anv trademark offices throughout the world,
                  (i~~) registered and unregistered copyrights in both publisf:ed works and unpublished works
                  (including hut. nut limited to copyrights on designs) ~u~d regis~rations and applications for
                  registration thereol; (vj computer soltware, including, without limitation, source: code, operating
                   systems and specifications, data, data bases, files, docume~rtatiou end other materials related
                   thereto, data and documentation, (~~i) all know-hew. trade secrets and confidential or proprietary,
                   technical and husiness inFormation (including but not limited to ide~is, pricing information, client
                  lists and other data, formulas, com~sitions, im~entions, and conceptions i~f irr~~ention~ whether
                   patentable or unpatentable and whether or not reduced to practice), vii) ~~%hetlxr or not
                   confidential, technology {including know-haw and show how), production processes and
                   techniques, research and de~~elopment intormatiun, drawings. srecitications, desi~~s, plans.
                   proposals, technical data, copyrightable works, financial, markrtitig and business data, priciri~
                   and cost information, business and marketing plans end customer and supplier lists and
                   information, (.'iii) all goodwill associated therewith accruing from the dates of first use thereof.
                   and all rights associated with the f'oregoin~. and (ix) all contracts or agreements granting any
                   right, title, license or privilege under the intellectual propert~~ rights a1'any third p~irty; and

                                (i)    all rroducts and proceeds (including, without limitation, insurance
                  proceeds) from the above-described Pledged Property.


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